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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




BADMUS TEXAS PROPERTIES, L.P.,              )
d/b/a JUPITER GARDENS,                      )
                                            )
             Plaintiff,                     )
                                            )             CIVIL ACTION NO.
VS.                                         )
                                            )             3:21-CV-1712-G
GENERAL STAR INDEMNITY                      )
COMPANY,                                    )
                                            )
             Defendant.                     )




                                       ORDER

      The plaintiff Badmus Texas Properties, LP d/b/a Jupiter Gardens and the

defendant General Star Indemnity Company jointly move to dismiss all this action in

its entirety with prejudice, each party bearing its own costs. See Joint Motion to

Dismiss with Prejudice (docket entry 15). After considering the motion, this court is

of the opinion that the motion should be, in all things, GRANTED.

      It is therefore ORDERED, ADJUDGED, and DECREED that the motion in

its entirety is hereby GRANTED.

      It is further ORDERED, ADJUDGED, and DECREED that all costs of court

and attorneys’ fees shall be taxed to the party incurring same.
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     SO ORDERED.

May 16, 2022.

                                  ___________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




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